4:07-cr-03167-RGK-DLP   Doc # 44   Filed: 02/15/08   Page 1 of 1 - Page ID # 151



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:07CR3167
                                    )
          v.                        )
                                    )
CRISTOBAL CAMACHO,                  )                    ORDER
                                    )
                Defendant.          )
                                    )


     IT IS ORDERED:

     Plaintiff’s motion to seal, filing 40, is granted. The
clerk is directed to file document number 41 under seal.

     DATED this 15th day of February, 2008.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
